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                                                                                                     Page 1


             IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF OKLAHOMA


 SUZANNE M. GILBREATH,                              )
 individually and in her                            )
 official capacity as                               )
 Guardian of Lacee Danielle                         )
 Marez, an incapacitated                            )
 person,                                            )
                                                    )
              Plaintiff,                            )
 VS.                                                )     Case No. CIV-11-1037-D
                                                    )
 BOARD OF COUNTY                                   )
 COMMISSIONERS OF CLEVELAND                        )
 COUNTY; et al.,                                   )
           Defendants.                             )



             DEPOSITION OF RHETT BILBREY BURNETT
               TAKEN ON BEHALF OF THE PLAINTIFF
                            IN NORMAN, OKLAHOMA
                              ON APRIL 18, 2013

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                   "'400Norl:h'Y~II{~r~ S~it~l§Q ,"" . ·,.1ql~o~.~~Qs,tQ~,~4~t~~t() \ .
                     . ()ldab.)maC;ty,PJ(73102 .,' '.       . ';, >\t~ts,~,Q~741q~r, .• .' ,. •. •.'.•'.•'. :. . :.
                       .""'405~235~41()6'" ............. .         . ··9t8~599;'0507.>·                             i_;.'.
                                                                                                                    ;




                                                                                                               ATTACH. 3
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     Rhett Burnett                                               April 18, 2013


                                                                     Page 6
 1                          Rhett Bilbrey Burnett,
 2      after having been first duly sworn at 9:40 a.m.
 3     . deposes and says in reply to the questions propounded

 4      as follows, to wit:
 5                                * * * * * *
 6                            DIRECT EXAMINATION
 7      BY MR. ERDOES:
 8             Q     Would you state your full legal name,
 9      please?
10             A     My name is Rhett Bilbrey Burnett.
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21             Q     Where are you currently employed?
22            A      Cleveland County Sheriff's Office.
23            Q      In what position?
24            A      I'm the undersheriff.
25            Q      What is an undersheriff?


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 1             A     That is the first deputy or the first chief
 2       in the absence of- the sheriff.
 3             Q     Okay.
 4             A     I   mainly run day-to-day operations of the
 5      sheriff1s office.
 6             Q     So you1re the second highest in command of
 7      the Cleveland County Sheriff1s Office?
 8             A     Yes, sir.
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25            Q      How long have you been employed as the


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     Rhett Burnett                                               April 18 1 2013

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 1      undersheriff or second highest in command of the
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        Cleveland County Sheriff's Office?                                         d
                                                                                   -'
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 3             A     Since January 5th, I think, of 2009.
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     Rhett Burnett                                               April 18, 2013


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 7             Q     So the Cleveland County Board of County
 8      Commissioners, what is their involvement in the
 9      operation and maintenance of the county jail?
10             A     They primarily are a part of the budget
11      board, which funds us.' Theylre -- due to the
12     . statutes, anything involving contracts or things like                  I~
                                                                                1:,
13      that has to go before them.                                         .   Il
14             Q     They have to approve the terms of those
15      contracts?
16             A     Correct.
17             Q     Okay.   And in this instance, we
18      specifically have been furnished with a contract
19      where -- Cleveland County contract with an outside
20      agency, Sooner Medical Staffing, I believe, for the
21      purpose of providing a medical authority and medical
22      staff for detainees at the Cleveland County Detention
                                                                                j
23      Center; is that right?
24            A      Yes, sir.
25            Q      And so the terms of that contract were


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                                                                    Page 17   ~o
 1      subject to the approval of the Board of the County
 2      Commissionersi is that a fair statement?
 3             A     Yes, the -- yes.       Uh-huh.
 4             Q     And did the sheriff's office also have
 5      input on the terms of that contract?
 6             A     Yeah, the sheriff spoke specifically with
 7      those people when we asked them to come in.             We asked
 8      for what they thought it would cost to provide better
.9      medical care than what was present ~nd they provided
10      that and he signed off on that.
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17              Q    Well, according to the documents I've seen,
18      you had actually had inmates sleeping on the floor,
19      is that not an accurate assessment by the inspector?
20              A    To my knowledge, they would be on the floor
21      in boats.     I don't know if they were not in boats or
22      not.
23              Q    I thought I had heard the word "mats" being
24      used.
25              A    Yes, you have mats, and the ideal        fo~mat,



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                                                                    Page 24        ~
 1     .if you have to put them on the floor, is to put them
 2      in what's called a boat, which is a plastic base and
 3      then with a sleeping mat inside that.
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22             Q     So you had more than two times the number
23      of women being housed than you had beds even in 2011;
24      is that right?
25            A      From the time we took over in '09, the jail


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     Rhett Burnett                                              April lSI 2013

                                                                                  ,
                                                                   Page 28 ~"
                                                                           ~
 1      was overcrowded consistently.          Inmates were
 2       transported to Pottawatomie County Jail to try and
 3      relieve the overcrowding, and we were on Department
 4      of Corrections immediate pick-up list for prisoners
 5      to be picked up, and they were in the process of
 6      building the new jail.        And health department was
                                                                                 I:
 7      aware it was overcrowded, knew the county was taking
 8      steps to build a new jail, knew we were doing the
 9      best we could do and that situation remained, we were
10      overcrowded.
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21             Q     You said the health -- something about it
22      being better than what it was before you took over.
23            A      When we contracted with Sooner Medical to
24      provide quality medical care, they provided us a
25      nurse on a 24-7 basis, they provided us access to


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     Rhett Burnett                                              April    ~8,   2013


                                                                   Page 31
 1      doctor, and they provided us then the meds that were
 2      needed.
 3                   The reason we did that is when we took
 4      office in 2009, there were detention officers that
 5      were passing meds, we felt that was inappropriate, so
 6     -we changed that.      That had been done in the past.
 7                   And we worked quickly to get with ESW --
 8      excuse me, Sooner Medical, I can1t remember which
 9      name they use, to provide medically trained personnel
10      to do that.     So I believe the health care that
11      Sheriff Lester contracted to provide was much better
12      than what existed when we came in.
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10             Q         (By Mr. Erdoes) Let me hand you what lim
11      going to mark as Exhibit 6.
12                   I   actually have copies now to share.         I

13      apologize that I didn't have the time to get everyone
14      copies of what I brought earlier today because of the
15      fact that I wasn't - - I didn't get those discovery
16      responses till late, so my mistake.
17                   I hand you what I marked as Exhibit 6.
18      Have you seen that document before, sir?
19            A      Yeah, I believe it would have been back
20      in '09.
21            Q      That was the first detention manual that
22      the jail operated under after Mr. Lester became the
23      sheriff and you became undersheriff; is that a fair
24      statement?
25            A      Yes, sir, it would have been in there.


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     Rhett Burnett                                               April 18, 2013

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                                                                    Page 34         ~
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 1             Q     And that basically sets out the policies
 2      and procedures for the operation of the jail; is that
 3      right?
 4             A     Yes, .on what should be done and what
·5      shouldn't be done.
 6             Q     Did you use the prior operations manual in
                                                                              I
 7      f9rming this document that either Sheriff Holyfield
 8      or Sheriff Beggs operated under?
 9             A     To my knowledge, this is the detention
10      manual that Miller, Edward Miller created, based on                   I,

11      what, as you see down here, revised by Captain
                                                                              ...
12      Williams and Lieutenant Brown in July of 2003.              Part
13      of that process was ensuring that the state mandated
14      training was being conducted for this agency.
15             Q     Okay.   I'm not sure that answered my
16      question.
17             A     I'm sorry.
18             Q     Are you saying that you used the same --
19      essentially the same manual as what Sheriff Beggs and
20      Sheriff Holyfield used as much as it looks down at
21      the bottom that the last revision was July of 2003?
22            A      Forgive me for not explaining that.
23      Miller, Ed Miller was instructed by the sheriff to
24      ensure that we were in compliance with all jail
25      standards and to update the detention manual upon us


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                                                                    Page 35
 1       coming in.    And so that task was assigned to him and
 2      this is the document that he produced using, my
 3      understanding, the last most updated one that he had
 4      at July of 2003 and modifying it and making
 5      corrections.      And this looks like the document that
 6      was presented to Sheriff Lester and I that he
 7      intended to use in the jail during the time period he                      r
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 8      was ,here.                                                                 ~
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     Rhett Burnett                                               April l8, 2013


                                                                    Page 45 ~
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 1             Q     And the observation portion of this policy                   ~
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 2       and procedure ma~ual, that's up to the detention                           ~


 3      deputy, not up to your third-party nursing staff,
 4      correct?
 5             A     The detention deputies were trained and
 6      continue to be trained, if it looks like somebody is
 7      in need of physical or medical attention, to take
 8      appropriate actions to make sure they're taken care
 9      of.
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21             Q     It is a requirement of your department that
22      you actually conduct what, I guess, they call site
23      checks on a timely basis, either on -- at the hour or
24      the half hour or the 15 minutes depending on the
25      nature of the detention; is that right?


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                                                                   Page 46
 1             A     Yes, sir.
 2             Q     In other words, if you have someone that's
 3       in detox, someone who's obviously was brought in
 4      under an intoxicated condition, your policy and
 5      requirement is that you conduct 30-minute site checks
 6      on those individuals; is that right?             Under special
 7      surveillance?
 8             A     Yes, sir, for instance, in suicide, it
 9      would be every 15.
10             Q     And just for the general population, then,
11      it's at least hourly; is that right?
12             A     Yes.
13             Q     And I believe that's a requirement of the
14      state health department regulations that I understand
15      you took training on as well?
16             A     Yes, sir.
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 9             Q     Is it a policy of the sheriff's office that
10      when a detention officer notes that the health of a                  I
                                                                             I'
11      detainee has deteriorated since their admission into
12      the facility, that it is incumbent upon them to alert
13      the nurse?
14             A     The medical staff.
                                                                             I:
                                                                             ';
15             Q     Okay.   And, in fact, getting back to your
16      policy manual, detention manual, at Page 280, not
17      only are there supposed to be regular surveillance or
18      site checks on an hourly basis of these detainees,
19      but in the evening shift, according to the paragraph
20      numbered formal count, inmates are required to answer
21      a roll call head count and during that head count,
22      the deputy is supposed to observe each and every
23      inmate to ensure the wellbeing, health and welfare of
24      the inmate population; is that right?
25            A      That's what it says.


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                                                                    Page 61
  1             Q     And under Paragraph 5, under observation,
 2       your deputies -- it's incumbent upon your deputies to
 3       observe an inmate's behavior and appearance for
 4       unusual or questionable situations, and then it cites
 5       some examples, including signs of depression, do you
 6       see that?
 7              A     Yes, sir.
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 5             Q      (By Mr. Erdoes) Mr. Burnett, let me hand
 6      you what I've now marked as Exhibit 12 and ask if
 7      you've seen that document before.
 8             A     Yes, sir, I've seen this.
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     Rhett Burnett                                                 April 18, 2013


                                                                      Page 71
 1             Q     Now, this document was signed off on by the
 2      Board of County Commissioners in March of 2009; is
.3      that right?
 4             A     Yes, ·sir.
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12             Q     Let me rephrase it then.          There are
13      provisions in this contract that you, as the
14      undersheriff on behalf of the sheriff's department,
15      mandated be a part of this contract; would you agree
16      with that?
17            A      Yes, we mandated certain things that we
18      wanted.
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     .Rhett Burnett                                              April 18 1 2013


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 9              Q     Okay.    Now, as part of your operations
10       manual, and I hate to bounce back and forth, but I
11       wanted to point out, your operations manual
12       specifically sets out that it's the policy of                        I,
13       Cleveland County Detention Center to entitle health
14       care comparable to inmates to that that is available
15       to citizens in the surrounding community, I             think we
16       talked about that, it's on Page 306 under medical
17       services, correct?
18              A     Yes.
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20             Q     All right.     So I guess weIll need to admit
21      this as an exhibit, which would be 14.
22                   (Plaintiffls Exhibit Number 14 marked for
23                   identification purposes and made part of
24                   the record.)
25            Q       (By Mr. Erdoes) Undersheriff Burnett,


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                                                                     Page 101
 1      we're back on the record.                And you have now furnished
 2      me and I've marked as Plaintiff's Exhibit 14 a more
 3       complete copy of the activity log spanning from
 4      September 17th, 2009 up to and after the point where
 5      Ms. Marez was found in the condition she was in at
 6      2:35p.m. on September 20th, 2009; is that a fair
 7      statement?
 8             A     Yes, sir.
 9             Q     Okay.             According to this document, your
10      SoonerCare nurse was actually in the A pod just 30
11      minutes before someone noticed Ms. Marez wasn't
12      breathing, do you see that?
13             A     Let's see here.            What time and date, sir?
14             Q     Look at Page 16, look at Page 16.
15             A     Yes, sir.
16             Q     September 20th, 2:04:59 p.m., does that say
17      that Deputy 629 notes that the nurse is up in pod A
18      handing out medication?
19             A     Yes, sir.
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